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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION

 MADISEN ULRICH, an individual,
                                                  Civil Case No.: 3:20-cv-1018-RAH-SRW
                Plaintiff,

        v.

 319 BRAGG STUDENT HOUSING                        JURY TRIAL DEMANDED
 AUBURN AL LLC; GREP SOUTHEAST,
 LLC; and CSX TRANSPORTATION,
 INC.,

                Defendants.



            PLAINTIFF MADISEN ULRICH’S FIRST AMENDED COMPLAINT

       COMES NOW the Plaintiff, Madisen Ulrich, (“Madisen”), by and through her counsel of

record, and files her First Amended Complaint against Defendants 319 Bragg Student Housing

Auburn AL LLC (“Bragg”), newly added Defendant GREP Southeast, LLC (“GREP”), and CSX

Transportation, Inc. (“CSX”), as follows:

                       SUMMARY OF CHANGES BY AMENDMENT

       1.     This First Amended Complaint (“FAC”) amends the complaint to add as a

defendant GREP Southeast, LLC, (“GREP”). The parties’ initial disclosures revealed that GREP

is the property manager for Bragg.

       2.     Bragg and Greystar’s counsel have confirmed that GREP is the property manager,

and that Greystar is simply a member of GREP. Based upon counsel for Greystar and Bragg’s

representations, Ulrich has agreed to remove Greystar as a party defendant and replace them with

GREP by amendment.
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        3.     In addition, Ulrich has added claims against Bragg and GREP for negligence and

against CSX for premises liability under Restatement (Second) of Torts § 343-343A, comment f.

        4.     The vast majority of the factual allegations are unchanged or updated only to reflect

additional information acquired through the initial disclosures.

                                        INTRODUCTION

        5.     This case arises from a horrifying pedestrian - train collision that occurred in

Auburn, Alabama on October 4, 2018. On that fateful afternoon, a CSX freight train struck

Madisen Ulrich as she crossed CSX’s tracks that bisected her path from the campus of Auburn

University to her apartment owned by Bragg. As will be shown, the Defendants’ collective

conduct, actions and omissions, combined and concurred to produce Madisen’s devastating

injuries.

        6.     This lawsuit seeks to hold the Defendants liable for their misconduct. This case is

brought to compensate Madisen for her devastating injuries; to provide justice for Madisen and to

cause the Defendants to bear the financial burden of their wrongdoing, rather than to shift that cost

to society in general.

        7.     This lawsuit also seeks to punish the Defendants for their behavior. Punishment

here is to deter these Defendants and to force them to make decisions that put safety and people

ahead of profits. The goal of this punishment is to put similarly situated parties on notice that

society will not tolerate this outrageous and reckless conduct. Ultimately, this lawsuit seeks to

prevent what happened to Madisen Ulrich from ever happening to anyone else.

                                            PARTIES

        8.     Plaintiff Madisen Ulrich is an adult citizen and resident of the State of Alabama.




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        9.      At all times relevant, Madisen was a student at Auburn University and a resident of

the private student housing complex known as 319 Bragg.

        10.     Defendant 319 Bragg Student Housing Auburn AL LLC (“Bragg”) is a Delaware

Limited Liability Company whose principal place of business is 222 S. Riverside Plaza, Suite 200,

Chicago, IL. 60606. Bragg is physically located at 319 Bragg Avenue, Auburn, Alabama 36830.

        11.     Newly added Defendant GREP Southeast, LLC, (“GREP”) is a foreign limited

liability company registered to do business in the State of Alabama. GREP was the property

manager for 319 Bragg at the time of the events, acts and omissions giving rise to this case. GREP’s

registered agent for service of process is CT Corporation System, 2 North Jackson St. Suite 605,

Montgomery, Alabama, 36104. GREP replaces Greystar as a party defendant in this action and

Greystar should be dismissed from this action.

        12.     Defendant CSX Transportation, Inc., is a Virginia Corporation who operates

railroads serving over two-thirds of the population of the United States. CSX has significant

commercial interests and is engaged in interstate commerce within this judicial district and

division, including operating one of its largest rail yards in this district and division.

                                          JURISDICTION

        13.     This Court has jurisdiction over this matter pursuant to 28 U.S.C.A. § 1332, because

all the parties to this action are citizens of different states and the amount in controversy exceeds

$75,000.

                                               VENUE

        14.     Venue is proper in this district pursuant to 28 U.S.C.A. § 1391 because the collision

underlying this case occurred in the eastern division of the Middle District of Alabama. Further,

all defendants may properly be joined in this action in this district because all the defendants are




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present in this division and all of the defendants may be properly joined here for purposes of this

case.

                                              FACTS

A.      Bragg, its Owners, Managers and Location.

        15.    Bragg is a private student housing complex located at 319 Bragg Avenue in

Auburn, Alabama.

        16.    Upon information and belief, GREP is the property manager for Bragg.

        17.    Bragg, along with its owners and managers, owe duties to its residents to avoid

creating unreasonably dangerous conditions and to mitigate or remove any unreasonably

dangerous conditions that are known to exist, or be under the control of, Bragg or its managers or

owners.

        18.    Bragg, boasting its location is “just steps away from Auburn University,” is

geographically located in such a position that student residents who walk to classes at Auburn

University, or travel into downtown Auburn for shopping, food, or nightlife, are openly directed

and encouraged to cross CSX’s rail line and ROW on foot as one of Bragg’s selling points.

        19.    Hundreds of university students reside at Bragg and many of them cross CSX’s rail

line and ROW on foot multiple times a day.

        20.    There is a gate located at the edge of Bragg’s property that abuts the right of way

for CSX’s rail line. Bragg’s management and owners refer to this gate as a walking gate and are

aware that this walking gate abuts the CSX right of way (“ROW”).

        21.    Bragg’s management and owners are aware that the walking gate is not at a

designated pedestrian crossing. In fact, there is no designated pedestrian crossing of the CSX tracks

and ROW at or near the North Donahue CSX rail crossing.




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       22.     The university students who reside at Bragg use this walking gate as a shortcut to

reach the CSX tracks and cross them on their way to classes, food, shopping, and entertainment.

       23.     Bragg, and its’ owners and managers, have full knowledge that Bragg’s residents

continuously use this walking gate as a path to and from the Auburn University campus and all the

nightlife, restaurants, and businesses in downtown Auburn.

       24.     This walking gate dumps the residents of Bragg directly onto the CSX right of way

where the students then traverse the railroad tracks on their way to class or into downtown Auburn.

Upon return from class or downtown Auburn, Bragg’s residents follow the same pedestrian foot

paths back across the CSX tracks and ROW to enter the walking gate and enter Bragg’s premises.

       25.     There are numerous pedestrian footpaths in this area that are highly visible to CSX

employees as they traverse these tracks multiple times a day. On Bragg’s side of the tracks

numerous footpaths converge at Bragg’s walking gate along CSX’s right of way.

       26.     The effect of Bragg’s creation and implementation of the walking gate, along with

its encouragement of the use of the walking gate by Bragg’s student residents, is to create an

unavoidable man trap for Bragg’s student residents. The walking gate creates an unreasonably

dangerous condition upon Bragg’s premises, causes Bragg’s residents to trespass onto CSX’s

tracks and ROW, and exposes Bragg’s residents to unreasonable risk of bodily injury or death.

       27.     GREP, as manager of Bragg, has respondeat superior liability for the wrongdoing

of their agents or employees, or is directly liable for GREP’s own wrongdoing.

       28.     GREP and Bragg created and allowed to exist an unreasonably dangerous man trap

by opening a gate onto CSX’s right of way and inviting the tenants of Bragg to risk their lives

trying to simply go to their college classes or walk into downtown Auburn for food, shopping, or

entertainment. This man trap dumped hundreds of residents of Bragg directly into an inherently




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dangerous railroad right of way every day of classes while these students walked to campus and

every time these student residents sought to enter or exit downtown Auburn for shopping, food, or

entertainment on foot.

B.      CSX.

        29.     In addition to GREP and Bragg’s knowledge that its walking gate is continuously

used as a path to and from campus and downtown Auburn by its student residents, CSX is also

aware of the pedestrian footpaths across its tracks at this location.

        30.     This is because CSX runs numerous freight trains down this line every day. Each

of CSX’s engines are equipped with cameras that record the complete run of the train on each trip.

In addition, CSX equips each train with a “black-box” to retain critical data from each run which

records the video for review and preservation by CSX.

        31.     CSX refers to anyone upon its right of way as a trespasser. In fact, CSX often

defends itself in train versus pedestrian collision cases by seeking to impose upon the victim the

legal status of trespasser for contributory or comparative negligence purposes.

        32.     However, CSX had, at all times material to this case, full knowledge that pedestrian

“trespassers” are the single largest source of accidents with trains in the United States. In fact, this

is common industry knowledge with longstanding obligations to mitigate the risk of trespassers

and train pedestrian collisions.

        33.     In 2008, CSX’s regulator, the Federal Railroad Administration (“FRA”), conducted

its first Right of Way Fatality and Trespass Reduction Workshop, (“First Workshop”). A final

report of this event was published by the FRA in February 2009.

        34.     This First Workshop report includes information demonstrating that CSX was an

attendee and participant in this program and gave presentations at this workshop.




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       35.     The First Workshop reported that “[g]rade crossing and rail trespasser incidents

continue to cause a large proportion of the deaths associated with railroading. Greater than half of

all the fatal injuries on United States railroads are sustained by trespassers. In 1990 the number of

trespassers who died on rail rights-of-way exceeded 500 for the first time. Since 1996 trespasser

fatalities have exceeded fatalities at grade crossings as the largest category of rail-related deaths

(see Figure 1).” (See page 2 of the FRA Workshop report).

       36.     The First Workshop concluded with an understanding that the industry needs to

continue its work to reduce pedestrian train collisions.

       37.     In 2011, the FRA issued a final report titled “Railroad Infrastructure Trespass

Detection Performance Guidelines” (hereinafter the “Trespass Report”).

       38.     The Trespass Report was provided to all railroads. Section 2 of the Trespass Report

indicates that trespass on railroad right of ways has long been a safety concern since many tragic

incidents involve children and young adults. The statistics provided in the Trespass Report showed

that trespass-related fatalities have not decreased over the years.

       39.     Section 2.1 of the Trespass Report laid out factors that contributed to trespassing

on right of ways:

               a.      Accessibility (poor or no fencing, no landscaping, proximity to school, or

                       other heavily trafficked attractions);

               b.      Poor visibility (curve/crest near accessible areas, location not easily visible

                       from nearest road or developments); and

               c.      Shortcut potential (fastest way between popular destinations).




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       40.     The Trespass Report indicates that once a location where trespassing is occurring

has been identified, the railroad should conduct a site survey and identify countermeasures to

reduce or eliminate trespassing.

       41.     The Trespass Report indicates that barriers and dedicated pedestrian paths over or

under the right of way are effective long-term countermeasures.

       42.     In August of 2012, the FRA published a report that followed its second “Right of

Way Fatality & Trespass Prevention Workshop” (2012 Workshop).

       43.     The 2012 Workshop found that trespassing was the leading cause of rail-related

deaths in America and, in general, most trespassers are pedestrians who use railroad tracks as a

shortcut.

       44.     Both workshops acknowledged that distracted behavior, including use of

electronics, was a known contributor to train pedestrian accidents.

       45.     In addition to the Trespass Report, the FRA published a fact sheet in February of

2013 which stated that the railroad operating environment is one that is inherently hazardous for

the general public and warned the general public should avoid railroad right of ways. This fact

sheet also noted that trespassing was the leading cause of rail-related deaths with more than 400

annually and nearly as many injuries. The fact sheet noted the vast majority of these injuries and

deaths are preventable. In addition, the fact sheet stated that Railroads should develop specific

trespass countermeasures with local communities when possible.

       46.     In July of 2014, the FRA published a final report titled “Trespass Prevention

Research Study – West Palm Beach, FL” (hereinafter “Trespass Study”). The Trespass Study’s

background noted that “[t]he rail ROW often provides an easy, yet illegal, shortcut to many

walking destinations. While notable progress has been made in the past 10 years to improve safety




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along rail ROWs, trespass-related fatalities have remained the biggest safety issue facing the rail

network.”

       47.     In November of 2014, the FRA published a final report titled “Trespass Event Risk

Factors.” The executive summary of this report stated “[t]respassing incidents are one of the most

prevalent types of railroad safety occurrences, resulting in more deaths than any other railroad type

of accident and affecting all segments of the national population. Given the persistent nature and

magnitude of the problem, any new insights into trespassing incidents and their prevention could

bring measurable benefits to the railroad community and society as a whole.”

       48.     The introduction to the November 2014 report states: “[t]respassing accidents are

one of the most prevalent types of railroad accidents, result in more deaths and life-changing

injuries than many other railroad accident types, and affect all strata of the national population.”

Section 3 of this Report also provided a number of known factors influencing pedestrian collisions

in train right of ways including the intoxication of the pedestrian from use of drugs or alcohol, the

use of headphones or other electronic devices, and that 38.5% of these incidents involve persons

attempting to cross the train tracks.

       49.     The November 2014 report also provided a description of high-risk locations: ease

of access to the right of way, shortcut potential, unauthorized access or route across the right of

way, visible “rabbit paths” across the right of way especially near parking lots, areas near parks

and schools, areas with high service frequency, locations with many trespassers.

       50.      The November 2014 report also provides data demonstrating that CSX was

involved with 773 pedestrian and train collisions between 2008 and 2012. In addition, section 5.2.2

of the November 2014 report indicated a number of trespassers caught on video were utilizing a

well-worn footpath.




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        51.    The FRA also authored another report in November 2014 titled “Countermeasures

to Mitigate Intentional Deaths on Railroad Rights-of-Way: Lessons Learned and Next Steps.” This

report will be referred to as the “Gabree Report” for one of its author’s names.

        52.    While the Gabree Report was primarily focused on cutting off incidents of “suicide

by train” the materials relevant to this point are also relevant to other train pedestrian collisions

since the report notes that “[s]uicide and trespasser fatalities have nearly identical impact on the

railroad industry in terms of cost or delays.” The Gabree Report’s goal was to provide a

comprehensive list of countermeasures and document critical research and evidence regarding

their implementation.

        53.    Section 3.3 of the Gabree Report notes that physically blocking access to the right

of way serves the purpose of preventing suicides and trespassing events generally. The Gabree

Report notes that while barriers such as fencing are not economically practical throughout the

entire rail network it may be practical to employ barriers in high-risk areas or “hotspots.” Fencing

is currently used in the United States in places where trespassing is a known problem. The Gabree

Report notes that there are no studies demonstrating the effectiveness of fences on prevention of

suicide but that common sense indicates suicide by train is not possible where the right of way

cannot be accessed. The Gabree Report found that fencing would help prevent trespassing and

suicide by train for freight railroads if used appropriately. The Gabree Report noted that freight

railroads would have to identify trespassing hotspots for fencing due to the expansive nature of

their lines.

        54.     A review of the entire Gabree Report shows that fencing is the only reliable means

of stopping trespassing events at hotspot locations that is both feasible for railroads and effective.




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       55.        The Gabree Report also noted in Section 3.4.3 that speed restrictions in trespassing

hotspots provided additional time for trespassers to avoid being struck by trains. The report found

reducing speed was a feasible countermeasure but its effectiveness was hard to determine.

       56.        The FAR published a final report in May 2017 from its 2015 Right of Way Fatality

and Trespass Prevention Workshop, (“2015 Workshop”). The introduction provided in this report

also confirms that “[t]respassing along railroad rights-of-way (ROW) is the leading cause of rail-

related deaths in America. Generally, most trespassers are pedestrians who use railroad tracks as

a shortcut. More than 500 trespass fatalities and nearly as many injuries occur in the United States

every year with the vast majority of these events being preventable.” In other words, from the First

Workshop to the Third Workshop, over a period of eight years, the number of deaths and injuries

from train pedestrian crashes remained steady in number and remained the leading cause of rail-

related deaths.

       57.        These authorities demonstrate that CSX was on general notice that collisions with

pedestrians was the most likely form of train accident and that any such accident would certainly

result in either death or traumatic physical injuries.

       58.        CSX was on general notice that pedestrian train collisions would be with persons

identified by CSX as trespassers. CSX was also on general notice that most pedestrians involved

in train collisions would be distracted or intoxicated which would affect their appreciation of their

potential danger.

       59.        CSX also had specific notice, both actual and constructive, that the area near Bragg

was a trespassing hotspot. This notice was derived from the observations of its own crews, the

recordings of its cameras, the highly visible “rabbit-paths” across its tracks and the gate from

Bragg’s private property onto its right of way which CSX allowed to exist for a period of years




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without any apparent objection. All of this information constitutes multiple forms of notice that

pedestrians were frequently crossing CSX’s tracks in the area of Bragg’s property.

       60.     In addition, CSX knew that there was no sanctioned pedestrian crossing in the area

of Bragg such as a pedestrian overpass, a concrete sidewalk at the grade crossing, or any other

method to safely allow pedestrians to cross these tracks without entering CSX’s right of way.

       61.     CSX had general notice from its regulator that its rights of way were inherently

dangerous for any pedestrians, including trespassers.

       62.     CSX also knew that there were no countermeasures in place to prevent the hundreds

of daily crossings by pedestrians near Bragg. Each of these crossings CSX would consider to be a

trespass. CSX knew almost all these pedestrians were college students who fit the demographic

profile of the persons most likely to be struck by a train.

       63.     Despite having notice and knowledge of the inherently dangerous nature of a rail

right of way to the general public, CSX did nothing to prevent hundreds of daily instances of

trespassing in the area of the Bragg property for years.

       64.     CSX’s conduct in failing to prevent pedestrians from crossing its tracks at or near

the N. Donahue crossing at a known trespassing hotspot constitutes an implied consent, license,

and invitation to pedestrians to cross CSX’s tracks in this area.

       65.     Because CSX was on notice that the typical person who would be involved in a

train vs. pedestrian collision would be either distracted or intoxicated, CSX had a duty to guard

against harm from its inherently dangerous operations as to its invitees, express or implied.




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C.      Madisen - October 4, 2018.

        66.    CSX allowed this inherently dangerous condition to persist for a period of years

prior to striking Madisen with its train and causing her severe, debilitating, life-altering injuries

from which she will likely never recover.

        67.    A collision with a pedestrian at this “trespassing hotspot” was as foreseeable for

CSX as the setting of the sun in the evening. Yet CSX did nothing to prevent the trespassing of its

property hundreds of times a day near Bragg’s property in the area of Bragg’s gate.

        68.    CSX’s train struck Madisen on the afternoon of October 4, 2018 as Madisen was

walking back to Bragg from her classes. At the time CSX’s train struck Madisen she was on her

phone talking to her mother while attempting to cross CSX’s tracks via her usual and customary

path, as she had done hundreds of times before.

        69.    Of course, Madisen’s path was directly through the pedestrian trespassing hotspot

created by Bragg’s gate and ignored by CSX for years.

        70.    Two of the three factors identified in the FRA’s Trespass Report were present at

the location where Madisen was struck by CSX’s train:

               a.      First, the right of way was easily accessible. The FRA noted that factors

                       affecting accessibility included a lack of fencing, proximity to school, or

                       other heavily trafficked area; and

               b.      Second, the area has shortcut potential as it was the fastest way between

                       Auburn’s campus and Bragg.

        71.    Each of the following factors attributed to the description of high-risk locations

found in the November 2014 Trespass Event Risk Factors report were present at the location where

Madisen was struck: ease of access to the right of way, shortcut potential, unauthorized access or




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route across the right of way, visible “rabbit paths” across the right of way especially near parking

lots, areas near parks and schools, areas with high service frequency, locations with many

trespassers.

       72.     CSX had knowledge of this inherently dangerous condition and took no steps to

avoid a collision with pedestrians at this industry defined “hotspot” of pedestrian “trespassing.”

       73.     Had CSX installed a barrier to prevent trespassing in this hotspot, it would not have

been possible for a pedestrian to enter CSX’s right of way.

       74.     Had CSX installed a pedestrian overpass there would have been a safe alternative

allowing pedestrians to cross CSX’s tracks that did not require hundreds of college students to risk

life and limb to walk to class every day or to enter or exit downtown auburn for food, shopping,

and entertainment.

       75.     CSX had superior knowledge of the inherent danger posed by its operations to

pedestrians crossing its tracks, the frequency of train pedestrian collisions, and the enhanced

danger of this type of collision at a pedestrian trespassing hotspot.

       76.     CSX was aware that college students are in the demographic of persons most likely

to be involved in a pedestrian train accident.

       77.     CSX was aware that any pedestrians crossing its tracks would likely be distracted

either by electronic devices or intoxication and therefore much more likely to not hear or see a

train approaching or appreciate their peril.

       78.     CSX was fully aware that any pedestrian struck by its train would likely be killed

or suffer devastating injuries.




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       79.     In other words, when Madisen’s life was forever altered by CSX, Madisen was right

where CSX expected her or any other trespasser to be, i.e. using a well-worn footpath across the

tracks as a shortcut to an attractive destination in a pedestrian trespassing hotspot.

       80.     Madisen was also in the exact condition all the data in CSX’s possession said she

would be, i.e. distracted and unable to appreciate her peril, at the time CSX’s train struck her and

changed her life forever.

       81.     In fact, CSX could have predicted this accident down to how it occurred from all

its accumulated general and specific knowledge about pedestrian collisions and trespassing

hotspots before Madisen was struck.

       82.     Despite this knowledge, CSX did nothing to mitigate the chances of a collision.

Instead, CSX rested in the belief it could place the blame on any pedestrian for a pedestrian train

collision in this “trespassing hotspot.”

                                            DAMAGES

       83.     Madisen repeats and realleges all allegations contained in the prior paragraphs.

       84.     At the time CSX’s train struck Madisen, she was in good health, was a loving and

caring family member, and had her entire future in front of her.

       85.     CSX’s train caused Madisen massive injuries. She suffered numerous fractures

throughout her body, closed head injuries including traumatic brain injuries, she underwent

multiple surgeries and long periods of rehabilitation. Madisen has lived through immense pain and

suffering, along with mental distress including anxiety and depression. Also, Madisen’s mood,

demeanor and personality have changed, and she has suffered profound emotional distress.

       86.     It is expected that Madisen will continue to experience conscious pain and

suffering, mental anguish, altered mood, demeanor, and personality. Madisen’s ability to live a




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normal life and have the career and life experiences that she would have normally been expected

to enjoy is forever altered, limited, and changed. It is expected that Madisen will suffer from the

effects of her injuries for the rest of her life.

        87.     In addition, Madisen will suffer diminished earning capacity and will require some

assistance with her activities of daily living on a going forward basis.

        88.     By reason of the foregoing, Madisen has sustained economic and non-economic

damages for which she seeks an award of compensatory damages. The full extent of her

compensatory damages is measured in the millions of dollars.

        89.     In addition, Madisen contends that the Jury should punish the Defendants for their

actions and omissions in this case. Madisen contends that the Defendants actions are reckless,

wanton and outrageous.

        90.     Based upon the facts of the case, Madisen will ask the Jury to award such an amount

of punitive damages as will properly punish these Defendants and deter similarly situated parties

from engaging in such behavior.

                                     FIRST CAUSE OF ACTION
                                        Wantonness as to CSX

        91.     Madisen repeats and realleges all allegations contained in the prior paragraphs.

        92.     Prior to CSX’s train striking Madisen, CSX was fully aware that the leading cause

of fatalities and injuries for railroads involved train pedestrian collisions. CSX was fully aware

these pedestrians would be considered trespassers on its property.

        93.     Prior to CSX’s train striking Madisen, CSX knew that the area of its track near

Bragg was a “hotspot” for pedestrians to cross its rail tracks with hundreds of daily crossings CSX

would label as trespassing incidents.




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       94.     Prior to CSX’s train striking Madisen, CSX knew that there was no “official”

pedestrian crossing in this area that was safe for pedestrians to cross its railroad tracks. In other

words, there was no pedestrian overpass or even a sidewalk at the grade level crossing.

       95.     Prior to CSX’s train striking Madisen, CSX knew that hundreds of college students

were crossing its tracks in these areas at all times of the day and night.

       96.     Prior to CSX’s train striking Madisen, CSX knew that Bragg had a walking gate at

the back of its property that allowed Bragg residents to walk directly onto CSX’s right of way for

purposes of crossing CSX’s tracks.

       97.     Prior to CSX’s train striking Madisen, CSX knew that in areas of high pedestrian

traffic that CSX trains would certainly encounter pedestrians who were distracted.

       98.     Prior to CSX’s train striking Madisen, CSX knew that distracted pedestrians were

most often the parties injured and killed in pedestrian train collisions.

       99.     Prior to CSX’s train striking Madisen, CSX knew that college aged people were in

the demographic of individuals most likely to be involved in a pedestrian train collision.

       100.    Prior to CSX’s train striking Madisen, CSX undertook no effort to erect any barrier

to trespassing in the area of Bragg’s property.

       101.    Prior to CSX’s train striking Madisen, CSX undertook no efforts to eliminate or

mitigate this pedestrian “trespassing” hotspot.

       102.    Prior to CSX’s train striking Madisen, CSX did not construct a safe pedestrian

overpass to serve the pedestrian population crossing its track at this location hundreds of times a

day.




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        103.   Prior to CSX’s train striking Madisen, CSX did all of these things with full

knowledge that when it eventually struck one of these students they would likely be on their phone,

or otherwise distracted, and completely oblivious to their imminent peril.

        104.   Prior to CSX’s train striking Madisen, CSX knew that it was not a matter of if one

of its trains would strike a pedestrian near the Bragg property, it was a matter of when there would

be a pedestrian train collision.

        105.   Prior to CSX’s train striking Madisen, CSX had allowed this inherently dangerous

condition to exist continuously for a period of years and had done nothing to mitigate the risk to

its own employees and those persons CSX deemed as trespassers who were utilizing this

“trespassing hotspot” on its right of way hundreds of times a day.

        106.   Prior to CSX’s train striking Madisen, CSX knew that either fatal or life altering

injuries would likely result from any train pedestrian collision.

        107.   Prior to CSX’s train striking Madisen, CSX did absolutely nothing to prevent the

inevitable collision with a pedestrian in the area of Bragg’s property.

        108.   Prior to CSX’s train striking Madisen, CSX knew of this inherently dangerous

condition and was recklessly indifferent to the consequences of its failures to stop the trespassing

and its conscious decision to do nothing to mitigate or prevent trespassing even though CSX knew

that eventually one of its trains would strike a pedestrian in this area and that the pedestrian would

be killed or gravely injured.

        109.   CSX’s actions in this case are reckless and wanton.

        110.   CSX’s conduct is a proximate cause of the harms suffered by Madisen.

        111.   As a result of CSX’s wantonness, Madisen was struck by CSX’s train and suffered

the injuries and damages set out in paragraphs 84-88 herein.




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       112.     Madisen demands a sum of compensatory and punitive damages as a jury deems

reasonable and may award.

                                 SECOND CAUSE OF ACTION
                                Wantonness as to Bragg and GREP

       113.     Madisen realleges all prior paragraphs as if set out here in full.

       114.     Bragg and GREP provided a gate to the residents of Bragg that opened onto the

right of way of CSX.

       115.     Bragg and GREP offered this gate as a path for residents to walk to and from class

and downtown Auburn with full knowledge that residents, such as Madisen, would go out of this

gate directly onto CSX’s right of way, and then cross CSX’s track and cross CSX’s ROW and

tracks returning to Bragg.

       116.     Bragg and GREP knew or should have known that CSX’s right of way is inherently

dangerous for pedestrians.

       117.     Bragg and GREP knew or should have known that inviting its residents, such as

Madisen, to trespass upon CSX’s right of way created an unreasonable risk of harm to all its

residents, including Madisen.

       118.     Despite this knowledge, Bragg and GREP created this “man-trap” for its residents,

including Madisen, and then perpetuated its existence and encouraged its use with full knowledge

that using this gate would likely lead to severe injury or death for some resident of Bragg.

       119.     Bragg and GREP allowed this unreasonably dangerous condition to persist with

reckless disregard for the injuries and harm that would result from using this private crossing of

CSX’s tracks.




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       120.    Bragg and GREP did not have CSX’s permission to create this private crossing, but

still chose to create and have its residents utilize this private crossing despite the unreasonable

danger of doing so.

       121.    Bragg and GREP’s creation of this private crossing was a proximate cause of injury

and harm suffered by Madisen.

       122.    As a result of Bragg and GREP’s wantonness, Madisen suffered the injuries set out

in this complaint at paragraphs 84-88.

       123.    Madisen demands such an award of compensatory and punitive damages as a jury

deems reasonable and might award against Bragg and GREP.

                                THIRD CAUSE OF ACTION
                             Negligence against Bragg and GREP

       124.    Madisen realleges all prior paragraphs as if set out here in full.

       125.    At all times material to this claim, Madisen was an invitee of Bragg and GREP.

       126.    Bragg and GREP owed Madisen a duty to be reasonably sure that Bragg and GREP

were not inviting Madisen into danger and to exercise ordinary care to keep the premises in a

reasonably safe condition.

       127.    Bragg and GREP breached their duty to Madisen.

       128.    Bragg and GREP breach was a proximate cause of needless harm to Madisen.

       129.    As a result of Bragg and GREP’s breach, Madisen was injured as set out in

paragraphs 84-88 herein.

       130.    Madisen demands an award of compensatory damages as a jury deems reasonable

and might award against Bragg and GREP for their breach of duty.




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                                  FOURTH CAUSE OF ACTION
                                  Premises Liability against CSX

          131.   Madisen realleges all prior paragraphs as if set out here in full.

          132.   CSX knows its rights of way are inherently dangerous to any persons on the tracks

or upon CSX’s rights of way.

          133.   CSX knows that any train vs pedestrian collision carries an extremely high risk of

death or catastrophic physical injury to the pedestrian.

          134.   CSX knows there is no alternative for pedestrians in the vicinity of Bragg’s property

to attend their classes at Auburn University or enter downtown Auburn for food, shopping, or

entertainment, and to return home from any of those activities, except to traverse CSX’s tracks.

          135.   CSX’s continued allowance of persons whom CSX deems trespassers to

continually cross its tracks near Bragg’s property constitutes consent, license, or an implied

invitation for pedestrians, including the residents of Bragg, to cross at this location.

          136.   CSX’s conduct renders all persons simply traversing the tracks in this area as

invitees of CSX.

          137.   Furthermore, Alabama law treats persons simply crossing railroad tracks as invitees

of CSX, see APJI, 34.07.

          138.   CSX contends that the danger of an oncoming train is one of an “open and obvious”

nature.

          139.   However, CSX cannot escape liability for this “open and obvious” danger because

CSX both creates and maintains the dangerous condition and requires pedestrians to expose

themselves to the danger because there is no way for a pedestrian to avoid the danger of crossing

CSX’s tracks.




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        140.    The situation that CSX’s has created constitutes special circumstances rendering

CSX liable to the Plaintiff because the condition created by CSX is both unreasonably dangerous

and effectively unavoidable.

        141.    The residents of Bragg who were pedestrians had no other means to reach their

home, attend class, or go to or from downtown Auburn other than to cross CSX’s tracks on foot.

Thus, the open and obvious doctrine does not bar Madisen’s claim in this situation.

        142.    Because CSX allowed its known unreasonably dangerous condition to injure its

invitee, Madisen, CSX is liable to Madisen for all her injuries and damages.

        143.    CSX’s conduct caused Madisen’s injuries as set forth in ¶¶ 84-88 herein.

        144.    Madisen demands an award of compensatory damages as a jury deems reasonable

and might award against CSX for its misconduct.

                                       PRAYER FOR RELIEF

        WHEREFORE, Madisen demands judgment against the Defendants, separately and

severally, as hereinafter set forth:

        1.      For such an amount of compensatory damages as a jury deems reasonable and may

                award, such number is expected to be in the millions of dollars and includes

                damages for economic and non-economic damages;

        2.      For interest upon any judgment entered as provided by law;

        3.      For costs of suit incurred herein;

        4.      For punitive damages, based on the wanton misconduct and conscious disregard for

                lives and safety described above; and

        5.      For such other and further relief as the Court may deem just and proper.




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                                        JURY DEMAND

       Plaintiff hereby demands a trial by struck jury of all issues so triable.

                                              Respectfully submitted,
                                              MADISEN ULRICH
                                              By: /s/ Nick Wooten
                                                 Nick Wooten

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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 25, 2021 that I caused the foregoing Plaintiff Madisen
Ulrich’s First Amended Complaint to be served upon all parties and counsel of record, via the
Court’s CM/ECF system.

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